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                   THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      )
                                              )
      v.                                      )          Case No. 1:22-cr-00019
                                              )
ROBERT TURNER, et. al.,                       )
  Defendant                                   )
_____________________________/

    DEFENDANT TURNER’S MOTION TO CONTINUE TRIAL DATE

      The Defendant, ROBERT TURNER, by and through his respective counsel,

moves this Honorable Court to enter its order continuing the trial in the above

captioned matter and as good cause therefore, states the following:

      1.     This matter is currently scheduled for jury trial on April 22, 2024.

      2.     Undersigned counsel recently entered his appearance for Defendant

TURNER on Friday, March 22, 2024. With the entry of the appearance of attorney

BARKET on behalf of co-Defendant GREG PURDY, each defendant is now

represented by his own attorney, thereby eliminating the possibility of any conflict

of interest in their representation.

      3.     A criminal defendant is entitled, under the US Constitution, to paid

counsel of his choosing, that a violation of this Sixth Amendment right is “complete”

without a showing of prejudice, and that such a violation of this right is not subject

to harmless-error analysis. United States v. Gonzalez-Lopez, 548 U.S. 140 (2006).
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      4.     This case is one of more than 1,400 (and growing) January 6

prosecutions that have inundated this District for more than the last three (3) years.

Counsel is unaware of any harm to the government that would be occasioned by a

brief continuance of trial.

      5.     In addition, Defendant TURNER and co-Defendant GREG PURDY are

both charged, in Count 3, with a violation of 18 U.S.C. 1512(c)(2) and 2 and, as this

Court is well aware, the applicability of this statute to January 6 prosecutions is

currently before the Supreme Court. However, neither Defendant has raised this

issue pre-trial in that the time for filing pre-trial motions expired prior to counsels’

entry in the case. A decision is anticipated by this Spring. This untenable situation

could lead to a claim of ineffective assistance depending on which way the Supreme

Court decides. A brief continuance of trial would obviate this issue and would

certainly be in the interests of judicial economy.

      6.     A short continuance would allow the attorneys to properly prepare their

case and in no way prejudices the government. Undersigned counsel assures the

Court that once a future, mutually agreeable, trial date is set, that absent the most

extraordinary circumstances, counsel will be fully prepared for trial on that date.

      7.     Undersigned counsel recommends a trial date be set for a time within

the next 60 to 90 days, a new scheduling order be entered allowing counsel to file

appropriate pre-trial motions, and a Status Conference via videoconference (to
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which the Defendant consents) be promptly set to select a firm trial date.

Undersigned counsel will be out of the country from April 4, 2024, to April 16, 2024.

      8.     This motion is being made in good faith and is not interposed for the

purposes of unnecessary delay. The Defendant agrees to the exclusion of time under

the Speedy Trial Act.

      9.      Prior to filing the instant motion, undersigned counsel conferred with

counsel for the government who opposes this motion. Both counsel for the co-

Defendants have no objection to the relief requested in this motion.

      WHEREFORE, based upon the foregoing, Defendant TURNER requests that

this Court grant the relief requested herein.

                                        Respectfully submitted,

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                                        By:/s/ George T. Pallas
                                        GEORGE T. PALLAS, ESQ.
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                           CERTIFICATE OF SERVICE


I HEREBY CERTIFY that a true and correct copy of the foregoing has been

electronically filed with the Clerk of Court using CM/ECF system which will send

notification of such filing.



                                                 By:/s/_George T. Pallas_____
                                                   GEORGE T. PALLAS, ESQ
